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  8                        UNITED STATES DISTRICT COURT
  9                       CENTRAL DISTRICT OF CALIFORNIA
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       NESTLÉ DREYER'S ICE CREAM                 Case No. 8:19-CV-02411-JLS-KES
 12    COMPANY,
                                                 ORDER ISSUING PERMANENT
 13                     Plaintiff,               INJUNCTION

 14                v.

 15    SAREEN INCORPORATED, dba
       MEL-O-DEE ICE CREAM, and DOES
 16    1 through 10, inclusive,

 17                     Defendant.

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                               ORDER ISSUING PERMANENT INJUNCTION     CASE NO. 8:19-CV-02411-JLS-KES
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  1         Based on the parties’ Consent for Permanent Injunction and GOOD
  2   CAUSE APPEARING,
  3         IT IS HEREBY ORDERED as follows:
  4         1.     Except as outlined in Paragraph 2 below, Defendant and Defendant’s
  5   officers, directors, agents, servants, employees, representatives, attorneys, assigns
  6   and all other persons in active concert of participation with them are hereby
  7   restrained and enjoined from:
  8                a.     Using the Häagen-Dazs Marks or trade dress, or any
  9   trademark or service mark or trade dress that is confusingly similar to the Häagen-
 10   Dazs Marks as the whole or any part of a business name in connection with ice
 11   cream, frozen yogurt, sorbet, sherbet, gelato, mellorine, water ices, or any other
 12   of the products which together comprise the frozen dessert category, including
 13   those products within the scope of 21 C.F.R. § 135, et seq. (collectively “Frozen
 14   Dessert Products”);
 15                b.     Using the Other Brands Marks or trade dress, or any trademark
 16   or service mark or trade dress that is confusingly similar to the Other Brands
 17   Marks as the whole or any part of a business name in connection with Frozen
 18   Dessert Products; and
 19                c.     Using the Häagen-Dazs Marks or trade dress, or any
 20   trademark or service mark or trade dress that is confusingly similar to the Häagen-
 21   Dazs Marks in connection with the distribution, advertising, sale, or promotion of
 22   Frozen Dessert Products; and
 23                d.     Using the Other Brands Marks or trade dress, or any trademark
 24   or service mark or trade dress that is confusingly similar to the Other Brands
 25   Marks in connection with the distribution, advertising, sale, or promotion of
 26   Frozen Dessert Products; and
 27                e.     Holding out in any manner whatsoever that Defendant or
 28   Defendant’s goods and/or services are in any way sponsored by, associated with,
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  1   connected to, or affiliated with Plaintiff or Plaintiff’s business (or with the
  2   successor and assigns of Plaintiff with respect to the Häagen-Dazs Marks, or their
  3   respective businesses; or with the successors and assigns of Plaintiff with respect
  4   to the Other Brands Marks, or their respective businesses); and
  5                f.    Making any other commercial use whatsoever, of any of the
  6   Häagen-Dazs Marks or trade dress, or any trademark or service mark or trade
  7   dress confusingly similar to the Häagen-Dazs Marks or trade dress;
  8                g.    Making any other commercial use whatsoever, of any of the
  9   Other Brands Marks or trade dress, or any trademark or service mark or trade
 10   dress confusingly similar to the Other Brands Marks or trade dress; and
 11                h.    Altering, removing or obscuring any production codes or use-
 12   by information or any other labeling on products produced by Plaintiff under the
 13   Häagen-Dazs Marks or the Other Brands Marks.
 14         2.     Defendant is allowed, under nominative fair use, to use the Häagen-
 15   Dazs Marks and the Other Brands Marks to refer to the actual goods associated
 16   with the Häagen-Dazs Marks or the Other Brands Marks, as applicable.
 17   Nominative fair use by Defendant is permissible as long as (1) the product or
 18   service in question is not readily identifiable without use of the trademark, (2)
 19   only so much of the mark as is reasonably necessary to identify the product or
 20   service is used and (3) use of the mark does not suggest sponsorship or
 21   endorsement by the trademark owner.
 22         3.     The use permitted under Paragraph 2 does not permit Defendant to
 23   hold itself out as an authorized distributor of any products within the scope of
 24   Paragraph 2, nor to place any product within the scope of paragraph 2 in any in-
 25   store merchandising equipment owned or supplied by Plaintiff or its affiliates, for
 26   the purpose of merchandising Frozen Dessert Products purchased from Plaintiff
 27   or its authorized distributors. Nothing herein is intended to make Defendant
 28   responsible for products placed in any store merchandising equipment (1) owned
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  1   or supplied by Plaintiff and (2) branded with the Häagen-Dazs Marks or Other
  2   Brand Marks, by a third party not acting in concert with Defendant.
  3         4.    To the extent that Defendant is able to purchase Plaintiff’s products,
  4   Defendant would be able to lawfully place those products in Defendant’s own
  5   store merchandising equipment, provided that (1) the equipment does not contain
  6   any of the Häagen-Dazs Marks or Other Brand Marks and (2) Defendant does not
  7   alter, remove, or modify any of the production codes or other labeling on the
  8   products.
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      Dated: December 02, 2020
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                                     HON. JOSEPHINE L. STATON
 14                                  UNITED STATES DISTRICT JUDGE
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